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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


Mark Foust, II,                               )       CASE NO.: 5:17CV2350
                                              )
        Plaintiff,                            )       JUDGE JOHN ADAMS
                                              )
v.                                            )
                                              )
City of Twinsburg, et al.,                    )       ORDER OF DISMISSAL
                                              )
                                              )
        Defendants.                           )


        The parties jointly contacted the Court via telephone and indicated that this

matter had been settled. Therefore, the docket will be marked “settled and dismissed,

without prejudice.” The parties may submit within thirty (30) days a proposed entry

setting forth different terms and conditions relative to the settlement and dismissal of this

case including dismissing the case with prejudice, which, if approved, shall supplement

this order. This Court will retain jurisdiction over the settlement.    The continued case

management conference scheduled for February 27, 2018 is hereby cancelled.

        IT IS SO ORDERED.



DATED: February 27, 2018                          ____/s/ Judge John R. Adams_______
                                                  JUDGE JOHN R. ADAMS
                                                  UNITED STATES DISTRICT COURT
